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     Federal Defender
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     Assistant Federal Defender
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5
6    Attorney for Defendant
     SHAKWUAN MAHAN
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9
10                   IN THE UNITED STATES DISTRICT COURT
11                 FOR THE EASTERN DISTRICT OF CALIFORNIA
12
13   UNITED STATES OF AMERICA,       ) Case No. 2:14-CR-0084 JAM
                                     )
14        Plaintiff,                 )
                                     ) STIPULATION AND ORDER RE RELEASE
15                         vs.       )
                                     )
16   SHAKWUAN MAHAN,                 )
                                     ) Judge: Hon. John A. Mendez
17        Defendant.                 )
                                     )
18                                   )
                                     )
19
20
21        It is hereby stipulated and agreed between plaintiff,

22   United States of America, and defendant, Shakwuan Mahan, that

23   the Court may order Mr. Mahan released to the U.S. Marshal by

24   8:30 a.m. on Tuesday, so that he may appear out of custody for

25   the dispositional hearing scheduled for 9:15 a.m.

26        This agreement arises from the following.         The probation

27   office and Mr. Mahan have agreed to modify Mr. Mahan’s

28   supervised release to order him to reside for 120 days at the

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1    Residential Re-entry Center in Oakland, California, commencing
2    next Tuesday, March 13, 2018.      (The probation officer advises
3    that she will file a proposed modification order shortly.)       The
4    parties contemplate appearing that morning and will ask the
5    Court to reschedule the dispositional hearing for 120 days to
6    see how Mr. Mahan progresses.      The parties request an advance
7    release order because Mr. Mahan is able to arrange
8    transportation to the RRC after Court on Tuesday and will be
9    able to report during business hours rather than await an after-
10   hours release from the County Jail, which may complicate his
11   transportation.
12        All other conditions of supervised release shall remain in
13   effect.
14                                     Respectfully Submitted,
15                                     HEATHER E. WILLIAMS
                                       Federal Defender
16
17   Dated:    March 8, 2018           /s/ T. Zindel
                                       TIMOTHY ZINDEL
18                                     Assistant Federal Defender
                                       Attorney for SHAKWUAN MAHAN
19
20                                     McGREGOR SCOTT
                                       United States Attorney
21
22   Dated:    March 8, 2018           /s/ T. Zindel for Q. Hochhalter
                                       QUINN HOCHHALTER
23                                     Assistant U.S. Attorney
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1                                    O R D E R
2         Mr. Mahan is ordered released to the U.S. Marshal by 8:30
3    a.m. Tuesday, March 13, 2018.      As previously ordered, he shall
4
     appear before the Court that day at 9:15 a.m. for further
5
     instructions.
6
          IT IS SO ORDERED.
7
8
     Dated:   March 8, 2018            /s/ John A. Mendez________________
9                                      HON. JOHN A. MENDEZ
                                       United States District Court Judge
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